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6

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8                             UNITED STATES DISTRICT COURT
9                                    DISTRICT OF NEVADA
10
     GREGORY O. GARMONG,                      CASE NO.: 3:17-CV-00444-RCJ-WGC
11
                        Plaintiff,
12
     vs.
13
     TAHOE REGIONAL PLANNING                  ORDERFOR EXTENSION OF TIME TO
14   AGENCY,                                  RESPOND TO PLAINTIFF’S MOTION
     JOHN MARSHALL, in his official and       FOR EXTENSION OF TIME TO FILE
15   individual capacities;                   REPLY IN SUPPORT OF MOTION FOR
     BRIDGET CORNELL, in her official and     PRELIMINARY INJUNCTION
16   individual capacities;                   [ECF NO. 145]
     JOANNE MARCHETTA, in her official
17   and individual capacities;               (FIRST REQUEST)
     JIM BAETGE, in his official and
18   individual capacities;
     JAMES LAWRENCE, in his official and
19   individual capacities;
     BILL YEATES, in his official and
20   individual capacities;
     SHELLY ALDEAN, in her official and
21   individual capacities;
     MARSHA BERKBIGLER, in her official
22   and individual capacities;
     CASEY BEYER, in his official and
23   individual capacities;
     TIMOTHY CASHMAN, in his official and
24   individual capacities;
     BELINDA FAUSTINOS, in her official
25   and individual capacities;
     AUSTIN SASS, in his official and
26   individual capacities;
     NANCY McDERMID, in her official and
27   individual capacities;
     BARBARA CEGAVSKE, in her official
28   and individual capacities;
     Case 3:17-cv-00444-RCJ-WGC Document 148 Filed 12/29/20 Page 2 of 3



1    MARK BRUCE, in his official and
     individual capacities;
2    SUE NOVASEL, in her official and
     individual capacities;
3    LARRY SEVASON, in his official and
     individual capacities;
4    MARIA KIM; VERIZON WIRELESS,
     INC.; COMPLETE WIRELESS
5    CONSULTING, INC., and CROWN
     CASTLE,
6
                          Defendants.
7

8         STIPULATION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S
        MOTION FOR EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF MOTION
9                   FOR PRELIMINARY INJUNCTION [ECF NO. 145]
10         The parties to this action, through their respective undersigned counsel of record,

11   stipulate that Defendants may have to and including January 8, 2021 in which to file points

12   and authorities in response to Plaintiff’s Motion for Extension of Time to File Reply in

13   Support of Motion for Preliminary Injunction [ECF No. 145].

14         This is the first stipulation for extension of time to file a response to ECF No. 145.

15   Defendants seek this extension in light of the holiday vacation schedules of all counsel.

16
      Dated: December 23, 2020                     Dated: December 23, 2020
17
      NEWMEYER & DILLION LLP                       LEONARD LAW, PC
18

19
20    By: /s/Aaron D. Lovaas                       By: /s/Debbie Leonard
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         Attorneys for Defendants Crown                Attorney for Defendants Tahoe
23       Castle and Verizon Wireless, Inc.             Regional Planning Agency and TRPA
                                                       individuals
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     Case 3:17-cv-00444-RCJ-WGC Document 148 Filed 12/29/20 Page 3 of 3



1                                                  Dated: December 23, 2020
      Dated: December 23, 2020
2                                                  CARL M. HERBERT
      SNELL & WILMER L.L.P.
3

4
      By: /s/William Peterson                      By: /s/Carl M. Herbert
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          Attorneys for Defendants Complete
12        Wireless Consulting, Inc. and Maria
          Kim
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14                                              IT IS SO ORDERED:

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                                                _______________________________
16                                              UNITED STATES DISTRICT JUDGE

17                                              DATED: December 29, 2020.

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